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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION


 THE STATE OF LOUISIANA, By and
 through its Attorney General, Elizabeth B.
 Murrill;
 THE STATE OF KANSAS, By and through
 its Attorney General, Kris W. Kobach;            Case No.: 6:25-cv-0076-DCJ-DJA
 THE STATE OF OHIO, By and through its
 Attorney General, Dave Yost; and                 Judge David C. Joseph
 THE STATE OF WEST VIRGINIA, By and                Magistrate Judge David J. Ayo
 through its Attorney General, John B.
 McCuskey

              Plaintiffs,

              vs.

 UNITED STATES DEPARTMENT OF
 COMMERCE; JEREMY PELTER, in his
 official capacity as Acting Secretary of
 Commerce;
 BUREAU OF THE CENSUS, an agency
 within the United States Department of
 Commerce; and
 ROBERT L. SANTOS, in his official
 capacity as Director of the U.S. Census
 Bureau

              Defendants.



         [PROPOSED] ORDER GRANTING MOTION TO INTERVENE OF
    THE LEAGUE OF WOMEN VOTERS, THE LEAGUE OF WOMEN VOTERS OF
    FLORIDA, AND THE LEAGUE OF WOMEN VOTERS OF NEW YORK STATE

       Upon consideration of the Motion to Intervene and Memorandum in Support thereof

 submitted by the League of Women Voters (“LWV”), the League of Women Voters of Florida

 (“LWVFL”), and the League of Women Voters of New York State (“LWVNYS”), the Court finds




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 that LWV, LWVFL, and LWVNYS are entitled to intervene in this action pursuant to Federal Rule

 of Civil Procedure 24 and, therefore, IT IS HEREBY ORDERED that:

        (1) LWV, LWVFL, and LWVNYS’s Motion to Intervene is GRANTED;

        (2) LWV, LWVFL, and LWVNYS be entered as a Defendant-Intervenors; and

        (3) the Clerk of Court shall docket LWV, LWVFL, and LWVNYS’s Answer to Plaintiffs’

 Complaint, which was attached to their Motion to Intervene.

        IT IS SO ORDERED on this ______ day of _____________, 2025.



                                            _____________________________________
                                            Hon. David C. Joseph
                                            UNITED STATES DISTRICT JUDGE




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